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 8                          UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA

10   KRISTY ZHANG,                             Case No.: CV17-357 CJC (RAOx)
     INDIVIDUALLY AND ON
11   BEHALF OF ALL OTHERS
     SIMILARLY SITUATED,                       ORDER
12

13                 Plaintiff,                  HON. CORMAC J. CARNEY
14                    v.
15   THE CHEESECAKE FACTORY
16   INCORPORATED,

17                  Defendant.
18

19
           Having considered the Parties’ Joint Stipulation for Dismissal, it is hereby
20
     ordered that this Action is dismissed without prejudice.
21

22
     Dated: October 1, 2019                __________________________________
23
                                                    HONORABLE CORMAC J. CARNEY
24                                      UNITED STATES DISTRICT COURT JUDGE
25

26

27

28

     Case # CV17-357 CJC (RAOx)               Zhang, et al. v. The Cheesecake Factory Incorporated
                                           ORDER
 Case 8:17-cv-00357-CJC-RAO Document 46 Filed 10/01/19 Page 2 of 2 Page ID #:187



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     PROOF OF SERVICE
